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IN THE we DIV:S:CN, WD. of VA
UNITED STATES DISTRICT COURT
FOR THE
WESTERN DISTRICT OF VIRGINIA
DANVILLE DIVISION
UNITED STATES OF AMERICA )
)
Vv. ) Criminal No.: 4:18-cr-00012
)
TREDARIUS JAMERIQUAN KEENE _ )
a/k/a “Bubba” or “Bubs” )

STATEMENT OF FACTS

The parties stipulate that the allegations contained in the Indictment and the following
facts are true and correct, and that had this matter gone to trial, the United States would have
proven each of these facts beyond a reasonable doubt.

At all times relevant to the Indictment, TREDARIUS JAMERIQUAN KEENE, a/k/a
a/k/a “Bubba” or “Bubs” (hereinafter “KEENE”) was a member of the criminal organization, the
Milla Bloods (“Millas”), which is a street gang affiliated with the New York Bloods Nation.
Since at least sometime in or about 2015, the Millas have been active in the Western District of
Virginia and have engaged in criminal activity. including but not limited to murder and
attempted murder, assault resulting in bodily injury, assault with a dangerous weapon, robbery,
obstruction of justice, drug distribution and trafficking, and conspiracy to commit those crimes.

The Millas, including its leadership, membership, and associates, constitutes an
“enterprise” as defined by Title 18, United States Code, Section 1961(4), that is, a group of
individuals associated-in-fact. The enterprise constitutes an ongoing organization whose
members function as a continuing unit for a common purpose of achieving the objectives of the
enterprise. This enterprise has engaged in, and its activities have affected, interstate and foreign
commerce.

The purposes of the enterprise, of which KEENE was a member, included promoting and
enhancing the enterprise, and enriching its members and associates through, among other things,
acts of violence, including murder, trafficking in firearms, and trafficking in controlled
substances, and the enforcement of discipline among the members; to providing assistance to
members of the enterprise who committed crimes for and on behalf of the enterprise; and to
thwarting efforts of law enforcement to apprehend enterprise members.

KEENE was a member of the Millas. He carried the rank of a 5-Star in the organization.
KEENE was involved in a murder and attempted murders committed by the enterprise, as well as

drug trafficking committed by the enterprise.
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From in or about 2015. in the Western District of Virginia and elsewhere, KEENE and
others, being persons employed by and associated with the Millas. an enterprise which was
engaged in, and the activities of which affected interstate and foreign commerce, knowingly and
intentionally did conspire and agree with each other, and with persons known and unknown, to
conduct and participate in, directly and indirectly, the affairs of the Millas through a pattern of
racketeering activity, as that term is defined by Title 18, United States Code, Sections 1961(1)
and 1961(5), consisting of multiple act(s) involving:

a. Murder. chargeable under Virginia Code. Sections 18.2-32,
18.2-22, 18.2-26 and !8.2-18 and the common law of Virginia;

and multiple offenses involving:

b. Trafficking in controlled substances in violation of 21 U.S.C. §§
841 and 846.

In furtherance of the conspiracy and to achieve its objectives, KEENE performed and
caused to be performed certain racketeering acts in the Western District of Virginia and
elsewhere. The racketeering acts performed by KEENE included, but are not limited to:

A. The Milla Bloods

Starting sometime in 2015, but no later than the beginning of 2016, the Milla Bloods
street gang was active in Danville, Virginia, which is located in the Western District of Virginia.
At one point in 2016, DaShawn Anthony (a/k/a “Shon Don’) became the “Big Homie” or
leader of the Millas. New members were initiated through a “jump in” or “beat in,” where gang
members would fight the new members for 21 seconds. _New members were required to take an
oath. The gang initiations occurred in Danville. Gang members could have rank within the
gang. By or in June 2016, the following individuals were members of the Milla Bloods in
Danville, among others:

Jalen Terry (a/k/a “Fats”)

Melik Smith (a/k/a “Shoota’’)

DaShawn Anthony (a:k/a “Shon Don”)
Tredarius Keene (a/k/a “Bubba” or “Bubs”’)
Demetrius Staten (a/k’a “Truck”’)

Jermay Smith, Jr. (a/k/a “Little Trill”)
Tanasia Coleman (a/k/a “‘Nasia’’)

Montez Allen (a/k/a ““Doc”)

The gang met periodically when called to do so by the Big Homie, DaShawn Anthony.

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Milla gang members were required to follow certain rules, such as “no snitching.”
Information about the enterprise was written down and circulated on Facebook and text
messages among the gang members. Gang members would indicate their status as a gang
member by wearing red bandanas or making gang signs with their hands in photographs and
videos, such as the “B” for Bloods or "M”™ for “Millas.”” Millas also used certain lingo.

The “800” neighborhood is an area in Danville near Green Street Park and includes
streets such as Lee Street. Berryman Avenue, Colquhoun Street, Cabell Avenue, and others.

This was the territory of the Rollin 60s Crips.

B. Attempted Murder of Dwight Harris and Armonti Womack (June 15, 2016)

 

On or about June 15, 2016, KEENE contacted one or more members of the Millas by
cellphone. At the time, KEENE was located in or near an apartment in the Southwyck
Apartments, part of which is located on a street called North Hills Court. The Southwyck
Apartment complex is located in Danville, Virginia, which is within the Western District of
Virginia.

The Milla member reported that two other individuals, Dwight Harris and Armonti
Womack, known to the Millas as the “Philly Boys,” were at the apartment complex. At
KEENE’s urging and armed with various firearms, the Millas agreed to travel to the apartment
complex to shoot and potentially kill Harris and Womack. When the Millas arrived at an area
near the apartment complex, they were met by members of another Danville street gang, called
the Rollin 60s Crips, who had also been contacted by KEENE. The Milla members and the
Rollin 60s Crips members agreed to a plan to shoot and potentially kill Harris and Womack
together. After arming and trying to disguise themselves, the Millas members and the Rollin 60s
Crips members walked into the apartment complex and began shooting at Harris and Womack.
KEENE was armed and fired from the open living room window of Ashley Ross’s apartment.

When the shooting ended. Coleman and Womack were injured by the gun fire. No one was
killed.

C. Meeting of the Milla Bloods and the Rollin 60s Crips

In the summer of 2016, members of the Rollin 60s Crips street gang and Milla Bloods
street gangs “tied the flag” in order to facilitate their criminal activities in the Danville, Virginia
area. Many of the members of both gangs were from the same neighborhood, the “800.” The
Billys, a rival Bloods gang that is a set of the 9-Trey Bloods, was a common enemy. On or
about August 20, 2016, members of the Millas and the Rollin 60s Crips agreed to and met at the
residence of Sticcs’ mother on Forestlawn Drive in Danville, Virginia, which is located in the
Western District of Virginia. “Sticcs” is the nickname for Marcus Davis, who is a member and
the “Big Homie” of the Rollin 60s Crips. KEENE attended the meeting along with the
following Milla Bloods gang members, among others:

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Jalen Terry (a/k/a “Fats”)

Melik Smith (a/k/a “Shoota’’)

DaShawn Anthony (a/k/a “Shon Don”)
Wydarius Brandon (a/k/a “Gleesh” or “D”)
Demetrius Staten (a/k/a “Truck”)

Jermay Smith, Jr. (a/k/a “Little Trill”)
Justin Simmons (a/k/a “‘Justo”)

Tanasia Coleman (a/k/a “Nasia’’)

Jay Terry
At this time, Anthony was the “Big Homie” of the Millas.
Several members of the Rollin 60s Crips gang were likewise present.

At the meeting, Marcus Davis and DaShawn Anthony discussed different topics and
issues, including that the two gangs should work together to sell drugs and buy guns at the
expense of a rival street gang called the Billy Bloods. At some point, Anthony gave a
“greenlight” to kill members of the Billy Bloods. including its leader, Stevie Wallace (a/k/a
“Peteroll’).

D. Murder of Christopher Motley and Attempted Murder of Justion Wilson
(August 20, 2016)

On August 20, 2016, KEENE conspired with members of his own gang and members of
the Rollin 60s Crips to kill the head of the Billy Bloods.

On August 20, 2016, multiple meetings occurred between members of the Rollin 60s
Crips and the Millas. At least one of these meetings occurred at the apartment of Ashley Ross,
who is an associate or member of the Rollin 60s Crips. Ross’s apartment is located in the
Southwyck Apartment complex, which is in Danville, Virginia and which is located in the
Western District of Virginia. Southwyck Apartments are often referred to as “North Hills
Court.” In general, the plan was to lure Wallace (and his second-in-command or other Billys)
to Southwyck Apartments, where various gang members were fanned out around the complex
and an adjoining parking lot, armed and prepared to shoot Wallace to death.

At approximately 10:30 p.m.. on August 20, 2016, a van drove into the apartment
complex, which caused multiple gang members to begin shooting from different directions.
Rollin 60s Crips member Phillip Miles (a'k/a “R”) and Milla Bloods leader DaShawn Anthony
(a/k/a “Shon Don’) were standing in the window of Ross’s apartment, which faces the parking
lot. Other gang members were located in various locations in front of and adjacent to the various
apartment buildings and parking lot, and some gang members were located near a trash dumpster
in the parking lot in front of Ross’s apartment. Armed with a loaded firearm, KEENE stood in a
breezeway outside of Ross’s apartment but did not fire his pistol. Although KEENE did not
fire his weapon, prior to the shooting, KEENE assisted in planning of the shooting, where the
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intent was to kill the intended target, and understood that someone could be killed as a result of
the intended shooting. In the shooting, one of the occupants of the van, Christopher Motley,
was killed in the gunfire. The driver of the van, Justion Wilson, was not injured,

After the murder, the shooters fled into apartments in the apartment complex and from
the Southwyck Apartments to various locations in and around Danville, Virginia. KEENE fled
back into Ross’s apartment, where he assisted Ross in destroying shell casings and other
evidence of the shooting.

The following Millas members, and others, were present at Southwyck Apartments
before and during the shooting:

Javontay Holland (a/k/a Tay”)

Melik Smith (a/k/a “Shoota”’)

DaShawn Anthony (a/k/a “Shon Don”)
Tredarius Keene (a/k/a “Bubba” or “Bubs’’)
Demetrius Staten (a/k/a “Truck”™)

Jermay Smith, Jr. (a/k/a “Little Trill)
Montez Allen (a/k/a “Doc’’)

Tanasia Coleman, was located inside Ashley Ross’s apartment before and during the
shooting.

Many members of the Rollin 60s Crips gang were likewise present before and
participated in the shooting.

E. Conspiracy to Distribute Controlled Substances

 

During and in furtherance of the conspiracy. KEENE conspired with others to distribute
marijuana on behalf of the racketeering enterprise. Jalen Terry (a/k/a “*Fats”), who is a member
of the Milla Bloods and was, at one time. its “Big Homie,” supplied KEENE with marijuana to
distribute.

Each of the acts set forth in paragraphs A. B, C, D, and E above furthered the goals and
objectives of the enterprise by enriching KEENE and its members, and enhancing the status of
KEENE and others within the organization.

The actions taken by KEENE as described above were taken willfully, knowingly, and
with the specific intent to violate the law. KEENE did not take those actions by accident,
mistake, or with the belief that they did not violate the law. KEENE acknowledges that the
purpose of the foregoing statement of facts is to provide an independent factual basis for his
guilty plea. It does not necessarily identify all of the persons with whom the defendant might
have engaged in illegal activity.

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Respectfully submitted,

P= M. Huber

Heather L. Carlton
Assistant United States Attorneys

After consulting with my attorney and pursuant to the plea agreement entered into this
day, I stipulate that the above Statement of Facts is true and accurate, and that had the matter
proceeded to trial, the United States would have proved the same beyond a reasonable doubt.

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“TTedarius J ameriquan Keene, Defendant

We are Tredarius Jameriquan Keene’s attorneys. We have carefully reviewed the above
Statement of Facts with him. To our knowledge, his decision to stipulate to these facts is an

informed and voluntary one.

rk D. Haugh, Es4. ~~
Charles L. Bledsoe, Esq.
Counsel for Defendant

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